                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


DARWIN R. DAVIS,

                           Petitioner,

               v.                                      Case No. 20-CV-1213

DAN WINKLESKI,

                           Respondent.


       ORDER ON PETITION FOR A WRIT OF HABEAS CORPUS


       Darwin R. Davis, who is incarcerated pursuant to the judgment of a Wisconsin

Circuit Court, filed a petition for a writ of habeas corpus. (ECF No. 1.) Rule 4 of the

Rules Governing Section 2254 Cases states:

       If it plainly appears from the petition and any attached exhibits that the
       petitioner is not entitled to relief in the district court, the judge must
       dismiss the petition and direct the clerk to notify the petitioner. If the
       petition is not dismissed, the judge must order the respondent to file an
       answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

       Having reviewed the petition, the court is unable to say that it is plainly apparent

that the petitioner is not entitled to relief. Therefore, the respondent shall answer the

petition.




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       The Clerk of Court shall promptly serve the respondent by service of a copy of

the petition and this order upon the State of Wisconsin Attorney General.

       No later than December 21, 2020, the respondent shall answer the petition in

accordance with Rule 5 of the Rules Governing Section 2254 Cases. Davis shall then

submit a brief in support of his petition no later than 28 days thereafter. The respondent

shall submit a brief in opposition no later than 28 days thereafter. Davis may reply no

later than 21 days thereafter.

       Alternatively, the respondent may move to dismiss Davis’s petition no later than

60 days after this order. In the event the respondent moves to dismiss the petition,

Davis shall respond to that motion no later than 28 days thereafter. The respondent

may then reply no later than 28 days thereafter.

       All initial briefs shall not exceed 30 pages in length. Any reply shall not exceed 15

pages in length. All briefs must comply with General Local Rule 5.

       Unless the court determines that additional proceedings are necessary, that will

conclude the briefing. The court will then resolve the petition on the written record.

       SO ORDERED.

       Dated at Milwaukee, Wisconsin this 20th day of October, 2020.




                                                 WILLIAM E. DUFFIN
                                                 U.S. Magistrate Judge




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